UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CONVERGEN ENERGY LLC, L’ANSE WARDEN
ELECTRIC COMPANY, LLC, EUROENERGY
BIOGAS LATVIA LIMITED, and LIBRA CAPITAL            Index No. 1:20-cv-03746 (LJL)
US, INC.
                         Plaintiffs,

-against-

STEVEN J. BROOKS, NIANTICVISTA ENERGY
LLC, GREGORY MERLE, RIVERVIEW ENERGY
CORPORATION, DANIEL ESCANDON GARCIA,
RAMON URIARTE INCHAUSTI, CHIPPER
INVESTMENT SCR, SA, URINCHA SL, THEODORE
JOHN HANSEN, BRIAN R. MIKKELSON, and
CONVERGEN ENERGY WI, LLC,

                            Defendants.



      REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
    PLAINTIFFS’ MOTION FOR LEAVE TO AMEND THE COMPLAINT


 Dated: September 9, 2020
 New York, New York
                                          SEIDEN LAW GROUP LLP

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       Pursuant to Federal Rule of Civil Procedure 15(a) (“Rule 15(a)”), Plaintiffs Convergen

Energy LLC, L’Anse Warden Electric Company, LLC, Euroenergy Biogas Latvia Limited, and

Libra Capital US, Inc. (“Libra”) (collectively, “Plaintiffs”), by and through their undersigned

counsel, submit this reply memorandum of law in further support of their motion for leave to file

an amended complaint.

                                 PRELIMINARY STATEMENT

       Defendants concede that leave to amend a complaint is freely given, and yet they

nevertheless object on the grounds of undue delay, prejudice, and futility. None of these arguments

are colorable. Defendants do not even attempt to articulate or calculate how they have been harmed

or delayed. As the Court is no doubt aware, the case is at the pleading stage, with two motions to

dismiss pending. The suggestion of delay has no support. With respect to futility, Defendants

merely parrot their motion to dismiss, which should be denied for the reasons in Plaintiffs’

opposition papers.

       Tellingly, Defendants ignore the very reason Plaintiffs stated for requesting leave to amend

their complaint; namely, that:

           Plaintiffs did not anticipate that defendants would attempt to evade liability for
           their misconduct suggesting that it was blessed by one of Brooks’ former
           colleagues, Fidel Andueza (“Andueza”), who conspired with him . . .
           Defendants have contended that Andueza, a senior Libra Capital employee,
           adequately represented Plaintiffs in the sale of the pellet plant and knew of
           Brooks’ double-dealing. The Court, in turn, concluded that Andueza’s authority
           to execute the operative agreements was uncontested even though the
           Complaint was silent with respect to Andueza.

Plaintiffs’ Brief at 1. In other words, the opposition skirts over the fact that Defendants misled the

Court concerning Andueza’s role, and, consequently, triggered the need for Plaintiffs to amend the

complaint and correct the record. Defendants spend an inordinate amount of time in their

opposition (and in the companion reconsideration motion opposition) pointing out the uncontested


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fact that Andueza’s role in Defendant Steven Brooks’ (“Brooks”) fraudulent scheme was known

to Plaintiffs (at least to some degree) before the complaint was filed. Defendants ignore Plaintiffs’

legal argument based on Andueza’s compromised position: because Defendants knew of

Andueza’s participation in the fraudulent scheme (and Plaintiffs’ senior management did not), any

agreement that he executed on Plaintiffs’ behalf is void and deemed never to have come into

existence. The true facts concerning Andueza are highly material and could affect the Court’s

determinations regarding, inter alia, the enforceability of the arbitration provision in the Supply

Agreement. Any suggestion of futility is unfounded.

                                          ARGUMENT

       I.       There Has Been No Undue Delay or Prejudice

       In order to show that leave to amend should be denied, Defendants have to satisfy the heavy

burden of showing that the proposed amendment is the result of “undue delay, bad faith, [or]

dilatory motive[.]” Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 194

(2d Cir. 2015). Undue delay requires a showing that “a considerable period of time has passed

between the filing of the complaint and the motion to amend” without a “valid reason for the

neglect and delay.” Hickey Freeman Tailored Clothing, Inc. v. Chargeurs, S.A., 2018 WL

5729297, at *3 (S.D.N.Y. Nov. 1, 2018) (quoting Park B. Smith, Inc. v. CHF Indus. Inc., 811 F.

Supp. 2d 766, 779 (S.D.N.Y. 2011)). “Simply alleging that the plaintiff could have moved to

amend earlier,” without more, is insufficient to show undue delay. Agerbrink v. Model Service

LLC, 155 F. Supp. 3d 448, 452 (S.D.N.Y. 2016).

       To meet this heavy burden, Defendants make two principal arguments: (i) “Libra’s

Amended Complaint is based on information known to Libra since 2019;”1 and (ii) “Libra has also



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       Def. Br. at 3.


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dragged Defendants through expensive expedited litigation.” 2 Neither proposition is supported

factually or legally.

        There has been no undue delay. As stated above, Plaintiffs knew about Andueza’s role in

the fraudulent scheme as of the filing of the initial complaint. However, the facts concerning the

role of Andueza (a non-party) in the fraud were not critical to Plaintiffs’ claims as pled in the initial

complaint. Thereafter, Defendants mischaracterized the role of Andueza in their sur-reply papers,

and the Court, in denying a stay of the Wisconsin arbitration, relied heavily on Andueza’s alleged

“undisputed” authority to bind Plaintiffs. In order to correct and amplify the record concerning

Andueza, Plaintiffs timely filed this application for leave to amend and immediately moved for

reconsideration of the Court’s decision to deny a stay of the Wisconsin arbitration. Defendants’

opposition fails to address these circumstances, which are the actual reason for the amendment.

Significantly, Defendants have no substantive response to the amendment.

        Further, Defendants’ contentions regarding “delay” are belied by the fact that discovery

has barely gotten off the ground, as Defendants have dragged their feet. Defendants have limited

their discovery responses to the issue of misappropriation of trade secrets. The parties have not yet

begun discovery on the fraud claim at the heart of this lawsuit. Indeed, Defendants have objected

to any fraud-based discovery:3

            Defendants object to the Requests to the extent they are not narrowly tailored
            and targeted at documents or information needed to resolve Plaintiffs’ motion
            for a preliminary injunction, the sole subject on which the Court has permitted
            expedited discovery, or to the extent the Requests otherwise exceed or vary
            from the scope of the Court’s Order permitting expedited discovery.

Declaration of Dov Gold at 2.



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        Def. Br. 5.
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        Defendants complaint about “onerous expedited discovery.” Def. Br. 2. Defendants Brooks, Niantic and
Merle have produced a single email, forcing Plaintiffs to move to compel discovery.


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       Despite what Defendants contend about delay here, this case is only three months old. Two

motions to dismiss are pending. Defendants do not cite to a single case denying leave to amend

based on “undue delay” under these circumstances. See Apotex Corp. v. Hospira Healthcare India

Private Ltd., 2019 WL 3066328, at *9-10 (S.D.N.Y. July 12, 2019) (no undue delay where case

was a year old, no discovery had taken place and, pursuant to an amended complaint, defendants

would file a second motion to dismiss).

       Defendants cite to cases where the requested amendment came unduly late in the litigation

process; for example: (i) post judgment (Ruotolo v. City of New York, 514 F.3d 184, 192 (2d Cir.

2008)); (ii) when the parties were preparing for trial (Evans v. Syracuse City Sch. Dist., 704 F.2d

44, 47 (2d Cir. 1983) (six days before trial and “two years and nine months after the defense could

properly have been asserted”) and Krumme v. WestPoint Stevens Inc., 143 F.3d 71, 88 (2d Cir.

1998) (after discovery was complete and case was near resolution)); (iii) more than ten years after

the litigation started (Grace v. Rosenstock, 228 F.3d 40, 51 (2d Cir. 2000)); (iv) after discovery

ended and after the movant responded to summary judgment (Cresswell v. Sullivan & Cromwell,

922 F.2d 60, 72 (2d Cir. 1990)); and (v) after court-ordered deadlines to amend pleadings (John

Hancock Mut. Life Ins. Co. v. Amerford Int'l Corp., 22 F.3d 458, 462 (2d Cir. 1994) (four months

after deadline) and Lee v. Regal Cruises, Ltd., 116 F.3d 465 (2d Cir. 1997) (ten months after

deadline and two years after information was available)). None have any applicability to this three-

month old case at the pleading stage.

       Indeed, Defendants’ contention about delay lacks any credibility given that they have

waged a multi-jurisdictional, scorched earth campaign to delay this Court’s adjudication of the

issues. Plaintiffs filed this singular lawsuit based on all the issues between Plaintiffs and

Defendants. The Defendants, in turn, filed two separate suits in Wisconsin, both duplicative but




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not as encompassing as this suit. They then filed an arbitration over the Supply Agreement, which

is also before this Court. The number of motions and time spent on these extraneous proceedings

is solely laid at Defendants’ doorstep. Stated differently, it is Defendants’ wasteful litigation

tactics, set forth in an objective review of the various dockets, that have delayed this case.

Defendants should not be rewarded for their blatant forum shopping and attempts to litigate the

issues “piecemeal.”

        Similarly flawed is Defendants’ contention that the “real emergency” is the pellet plant’s

money damages claim for unpaid pellets. The pellet plant’s claim is compensable by money and,

consequently, not an emergency under any applicable law. See Bisnews AFE (Thailand) Ltd. v.

Aspen Research Grp. Ltd., 437 F. App'x 57 (2d Cir. 2011) (denying a preliminary injunction

because plaintiff could be fully compensated by money damages). Defendants’ claim is also for a

mere fraction of the monies Plaintiffs seek in this case, which Defendants have hobbled with their

efforts at piecemeal litigation. If any side has been harmed by delay, it is Plaintiffs and not

Defendants.

        II.     No Prejudice Exists to Warrant Denial of Leave to Amend

        Leave to amend will be freely granted absent a showing of prejudice such that an

amendment would: “(i) require the opponent to expend significant additional resources to conduct

discovery and prepare for trial; (ii) significantly delay the resolution of the dispute; or (iii) prevent

the plaintiff from bringing a timely action in another jurisdiction.” Pasternack, 863 F.3d at 174

(internal quotations and citations omitted).

        In arguing prejudice, Defendants resort to conclusory statements about delay and “stall

tactics” intended to “starve” Defendants by not paying for pellets or agreeing to arbitrate. Def. Br.

at 15-16. However, “mere delay” or “complaints of the time, effort and money” expended in




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litigation do “not provide a basis for a district court to deny the right to amend.” Id.

       Plaintiffs’ proposed amended complaint concerns the same transactions and agreements

that are at issue in the initial complaint. The amendment will not require Defendants to expend

significant additional resources to conduct discovery or trial. In any event, the law is clear that the

mere expansion of cost or other burden resulting from an amendment is an insufficient basis for

denying leave to amend. See Agerbrink, 155 F. Supp. 3d at 455 (“While some additional discovery

will certainly be necessary, the possibility that an amendment will require the expenditure of

additional time, effort, or money [does] not constitute undue prejudice.”) (internal quotations and

citations omitted); Margel v. E.G.L. Gem Lab Ltd., 2010 WL 445192 at *12 (S.D.N.Y. Feb. 8,

2010) (noting that any “prejudice that would flow from any additional required discovery can

generally be mitigated by adjustments to the discovery schedule.”). Moreover, as stated above, any

delay is exclusively the result of Defendants’ tactics. If Defendants were really concerned about

prosecuting the Supply Agreement claim in the most expedient manner possible, they would have

foregone AAA and focused instead on prosecuting the claim in this case.

       III.    Plaintiffs’ Proposed Amendment is Well Pled and Not Futile

       Granting leave to amend is futile if it appears that plaintiff cannot address the deficiencies

identified by the court and allege facts sufficient to support the claim. See Joblove v. Barr Labs.,

Inc., 466 F.3d 187, 220 (2d Cir.2006). Here, the Court has not identified deficiencies with the

Complaint. Defendants acknowledge this and state alternatively that the amended complaint “does

not address any of the fundamental defects addressed in Defendants’ motion to dismiss.” Def. Br.

13. Thus, they argue, “any amendment would be futile.” Id. Plaintiffs opposed Defendants’ motion

to dismiss with evidence and support for the Complaint’s claims. The proposed amendment is not

intended to remedy any defects because Plaintiffs do not concede the existence of any such defects.




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Rather, the amended complaint is intended to plead additional facts relevant to non-party

Andueza’s ability to bind Plaintiffs when he was participating in their fraudulent scheme, an issue

that is relevant to, among other things, the Court’s determination regarding the enforceability of

the arbitration provision of the Supply Agreement. This substantive point is left unaddressed by

Defendants’ brief.

         Defendants instead focus on the fact that Plaintiffs’ in-house attorney, Bert Diaz (“Mr.

Diaz”), signed an Amended Closing Statement in the days immediately after Defendants’

fraudulent scheme was discovered. They specifically highlight the following sentence from the

Amended Closing Statement:

                     Other than as expressly modified pursuant to this Amended and
                     Restated Closing Statement, all of the terms, conditions and other
                     provisions of the Acquisition Agreement and the O&M Agreement are
                     hereby ratified and confirmed and shall continue to be in full force and
                     effect in accordance with their respective terms.

Def. Br. at 7. From this sentence they conclude that “Diaz reaffirmed, in the Amended Closing

Statement, the arbitration clauses in the Acquisition Agreement and Supply Agreement.” Def. Br.

at 13.

         Defendants have taken the above-quoted sentence out of context and distorted its meaning.

Mr. Diaz rejected the suggestion of ratification and explained that the entire provision including

the above-quoted sentence was meant to limit the amendment of the Acquisition Agreement to just

those terms set forth in the Amended Closing Statement (i.e., harmonize the terms of the Amended

Closing Statement with the Acquisition Agreement): “In the event of any conflict or inconsistency

between the provisions of the Acquisition Agreement…and the provisions of this Amended and

Restated Closing Statement, the provisions of this Amended and Restated Closing Statement shall

control.” ECF 108, 92-8.

         “Ratification ‘must be performed with full knowledge of the material facts relating to the


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transaction, and the assent must be clearly established and may not be inferred from doubtful or

equivocal acts of language.’” Cammeby’s Mgmt., Co., LLC v. Affiliated FM Ins. Co., 152 F. Supp.

3d 159, 165 (S.D.N.Y. 2016) (quoting Chemical Bank v. Affiliated FM Ins. Co., 169 F.3d 121, 128

(1999), vacated on other grounds sub nom.); “Ratification requires clearly established intent.”

Principal Life Ins. Co. v. Locker Grp., 869 F. Supp. 2d 359, 366 (E.D.N.Y. 2012). The Amended

Closing Statement was never intended to ratify the Acquisition or Supply Agreements. Diaz Decl.

at 3 (ECF 108). As Mr. Diaz explained, the Amended Closing Statement was not meant to release

or otherwise impact claims based on the Defendants’ fraudulent conduct. To the contrary, at the

time of the Amended Closing Statement, Plaintiffs had put Brooks on notice of fraud claims and

demanded that Brooks repay the shortfall between the fraudulent purchase price and the fair market

price as determined by an independent valuation of the pellet plant. See Diaz Decl. at 4 (ECF. 108).

Plaintiffs expressly required the independent valuation to be completed before determining the

amount of Brooks’ liability to Libra. See Id. If the Amended Closing Statement were somehow

intended to relinquish Plaintiffs’ stated fraud claim, the Amended Closing Statement would have

included a release or comparable language. It does not contain any release language, address the

issue of fraud, or discuss the material undervaluation of the plant. ECF. 92-8.

       Defendants suggest that the timing of the Closing Statement in relation to Plaintiffs’ initial

discovery of the fraud (a few weeks later) bolsters their claim of ratification. Specifically,

Defendants contend that the Amended Closing Statement was executed “after Libra’s investigation

of the purported fraud at issue.” Def. Br. at 2. The suggestion that the investigation concluded, and

that Plaintiffs knew all that they needed to know about the fraudulent scheme three weeks after it

was first discovered in unsupported. The Amended Closing Statement itself belies the suggestion.

In it, Plaintiffs requested, and Defendants agreed to maintain Defendant Brian Mikkelson as a




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consultant to continue to help oversee the pellet and power plants during the transition. ECF. 92-

8. By April, Plaintiffs terminated Mikkelson and by May 14 Mikkelson was named in this lawsuit

as a defendant co-conspirator with Brooks. ECF. 1. Had Plaintiffs concluded their fraud

investigation by the date of the Amended Closing Statement, they would not have opted to keep a

fox in the hen house.

       In any event, it is now clear that Defendants have raised a dispute concerning the meaning

and import of the Amended Closing Statement. However, all disputes under the Amended Closing

Statement call for jurisdiction in New York:

           Any action or proceeding seeking to enforce any provision of, or based on any
           right arising out of, this Agreement may be brought against any of the parties
           in the courts of the State of New York, County of New York, or, if it has or can
           acquire jurisdiction, in the United States District Court for the Southern District
           of New York, and each of the parties consents to the jurisdiction of such courts
           (and of the appropriate appellate courts) in any such action or proceeding and
           waives any objection to venue laid therein.

ECF 92-8. Thus, whether Mr. Diaz ratified the Acquisition Agreement and Supply Agreement is

a question for this Court, not for the AAA in Wisconsin. Not surprisingly, Defendants omit from

their brief any mention of the above-quoted forum provision. Defendants cannot selectively

enforce the Amended Closing Statement. Having made their ratification argument based on the

Amended Closing Statement, they have conceded that the Amended Closing Statement determines

the appropriate forum for this dispute.4


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       In the context of futility, Defendants also try to inject the employment agreements of the
individual Defendants because those agreements contain arbitration provisions. Def. Br. 2.
Defendants overlook the simple fact that none of Plaintiffs’ claims are predicated on those
employment agreements. This is a fraud case pure and simple carried out and assisted by faithless
servants, the nominal buyer (Gregory Merle) and their funding source (the Spanish Defendants).
Even if the employment contracts were at issue, none require arbitration under the circumstances.
For example, Brooks and Mikkelson’s employment agreements do not require arbitration “for any
claim in which the Company seeks injunctive or other equitable relief [for violations of
confidentiality].” Declaration of Dov Gold at 2; Dkt. 92-11.


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                                      CONCLUSION

     For all the foregoing reasons, the Court should grant Plaintiffs’ motion.

Dated: September 9, 2020                        SEIDEN LAW GROUP LLP
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                                                By: /s/ Michael Stolper
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                                                 Dov B. Gold
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a true and correct copy of the foregoing to be filed

using the Court’s Electronic Filing System (“ECF System”). The document is available for

viewing and downloading via the ECF System and will be served by operation of the ECF System

upon all counsels of record.

Dated: September 9, 2020                                      SEIDEN LAW GROUP LLP


                                                              /s/ Michael Stolper
                                                                  Michael Stolper




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